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 6   KIEDOCK KIM

 7
                    IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                               EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                         CASE NO: 2:10-CR-0255

11                         Plaintiff,
                                                       STIPULATION AND PROPOSED
12            v.                                       ORDER MODIFYING TERMS OF
                                                       PRETRIAL RELEASE TO PERMIT
13   FRENCH GULCH NEVADA MINING                        SHORT-TERM TRAVEL TO AND
     CORPORATION, BULLION RIVER                        FROM CANADA AND FOR RELEASE
14   GOLD CORPORATION, PETER                           OF DEFENDANT’S PASSPORT
     MARTIN KUHN, and KIEDOCK KIM,
15
                           Defendants.
16
     _____________________________/
17

18
              The defendant, KIEDOCK KIM, through his counsel of record, and plaintiff
19
     United States of America, through its counsel, Assistant United States Attorney
20
     Samuel W ong, agree and stipulate that the condition of pre-trial release restricting
21
     the defendant’s travel to the Eastern and Northern Districts of California shall be
22
     modified as follows: The defendant shall be permitted to travel to and from
23
     Vancouver, British Columbia, Canada, for a ten day period commencing on February
24
     1, 2011, to visit with his gravely ill father and to assist his family with his father’s
25
     health crisis.
26
     ///
27
              The parties further agree and stipulate that the condition of pre-trial release
28
     requiring the defendant to surrender his passport to the Clerk of the Court may be
                                            1
                     Stipulation and Order Modifying Terms of Pretrial Release
       Case 2:10-cr-00255-TLN Document 27 Filed 01/31/11 Page 2 of 2

 1   modified to permit the Clerk to release the previously-surrendered passport to

 2   counsel for the defendant so that the defendant may travel to Canada to visit with his

 3   gravely ill father. Upon return to the United States, the defendant shall surrender his

 4   passport to the Clerk of the Court.

 5   Dated: January 27, 2011                 Respectfully submitted,

 6                                           SEGAL & KIRBY LLP

 7                                    By:    /s/ Malcolm Segal
                                             MALCOLM SEGAL
 8                                           Attorneys for Defendant
                                             KIEDOCK KIM
 9

10                                    By:    /s/ Samuel W ong
     Dated: January 27, 2011                       SAMUEL W ONG
11                                           Assistant United States Attorney
                                             (By permission)
12

13                                           ORDER

14         GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties,

15   the condition of pre-trial release restricting the defendant’s travel to the Eastern and

16   Northern Districts of California is modified as follows: The defendant is permitted to

17   travel to and from Vancouver, British Columbia, Canada, for a ten day period

18   commencing on February 1, 2011.

19         The condition of pre-trial release requiring the defendant to surrender his

20   passport to the Clerk of the Court is hereby modified and the Clerk shall release the

21   previously-surrendered passport to counsel for the defendant. Upon return to the

22   United States, the defendant shall surrender his passport to the Clerk of the Court.

23         IT IS SO ORDERED.

24   Dated: January 28, 2011
25

26                                          GARLAND E. BURRELL, JR.
                                            United States District Judge
27

28

                                            2
                     Stipulation and Order Modifying Terms of Pretrial Release
